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At the conference, these rulings Were made:

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|___i Orcler to be entered

i:i Triai preparation to be completed by: , zoo___.

|:i A pretrial conference is set for: on , zoo_

i:i A hearing is set for: on , zoo_.

|:| A trial is set for : on , zoo_
|:| Bench |:| Jury (Estimatecl time at 5.5 hours a clay ).

|___i Joint Pretrial Order due: , zoo__

m Internal review deadline zoo

 

Lynn N. Hughes
Unitecl States District]udge

 

 

 

